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                                  #: 2195




               Exhibit E
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                                                                                                                    Page 1 of 5




   CELESTIAL
 Screen Shot of Deviation 20190236 from SharePoint



 I,,HAIN A
                                         Deviation Form
                              Deviation
                              Expiration Date
        Deviation Number          20190236                      Submitted By

        Deviation Status         Open                         Submitted Date 11/26/2019, 830:00 AM


                                             DEVIATION DETAILS

                   Type *     Non-Conforming Prc duct



                  Reason      Quality/Compliance Issues


                  Brand       Earth's Best


                              Multiple lots of vitamin premix are being tested and we intend to use the ones
              Conlnients      that theoretically calculate below a 100 ppb in finished product. This is one of
                              the lots 19090122P that indicates acceptable finished good levels when
                              calculated theoretically.


       Receiving Facility     Beech-Nut Foods



                              FINISHED GOOD (FORMULA) INFORMATION

            Finished Good Number(s)                                    Finished Good Description(s)

                  090001                                                   Earth's Best Organic Brown Rice Cereal



                            Note: Hover over the options below for more information.

   See attached
   All Finished Goods for the Receiving Facility selected

                                         INGREDIENT INFORMATION
        Property                                Current

       Resource Number         5316067


    Resource Description       Vitamin Premix


                  Supplier     Wright Enrichment Group




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    Ingredient Exp. Date



               Lot Code      19090122P


                             Arsenic: 100 ppb                             Arsenic: 223 ppb
           Specification     Lead: 100 ppb                                Lead: 352 ppb


   Highest Percentage in
       Finished Good(s)      2.08%



                   Other


            Attachments        Results Vitamin Premix Lot 19090122P.pdf
                               Rice Cereal - December Calculation.xlsx


                 Note: Please attach the following:
                    • Certificate of Analysis Test Results
                    . Hain Specification


                                                REVIEW HI STORY

                                                R&D REVIEW

          Reviewed Date       11/26/2019                                         Select one:

                                                                                    Approved
                                                                                    Rejected
            Reviewed By                                                             Revisions Requested



              Comments       This deviation does not require R&D approval.




     Special Instructions




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                                QUALITY & FOOD SAFETY REV1EW

          Reviewed Date      11/26/2019                                             Select one:

                                                                                       Approved
                                                                                       Rejected
             Reviewed By
                                                                                       Revisions Requested

               Comments      Vitamin premix is used at 2.08% in the rice cereal finished good C90001. Upon
                             theoretical calculations including the 10% variation, the arsenic and lead levels in
                             the finished product are below 100 ppb. Attached calculations.




      Special Instructions   Note: 'There are 6 other lots of vitamin premix that are stili pending test results.
                             Those lot codes are listed belo:

                             19100151P, 19090125P, 19090127P, 19090126P, 19100081P, 19100150P

                             Please note tkat these lots are stili pending approval and should not be used
                             Withaut approval and release authorization from Corporate SQA.

                             This deviation only approves lot code 19090122P.

                                      REGULATORY REVEW

          Reviewed Date      11/26/2019                                             Select one:
                                                                                       Approved
                                                                                       Rejected
             Reviewed By                                                               Revisions Requested


              Comments




 L
     Special Instructions




                                          FACILITY REVEW
                                                                                    Select one:
          Reviewed Date      11/26/2019
                                                                                       Approved
                                                                                       Rejected
             Reviewed By                                                               Revisions Requested


               Comments      Coman to be notified of this deviation




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       eurofi ns              Food Integrity
                                                                                                         Report Number:              2699653-0
                                                                                                                                   22 -Nov-2019
                                                                                                             Report Date:
                              & Innovation                                                                 Report Status:                 Final

                                                    Certificate of Analysis
  Hain Celestial Group


  Sample Name:           Vitamin Premix Item 5316067                          Eurofins Sample:        9026492
  Project ID             HAIN_CLSTL-20191118-0135                             Receipt Date            16-Nov-2019
  PO Number              CVD                                                  Receipt Condition       Ambient temperature
  Sample Serving Size                                                         Login Date              18-Nov-2019
  Description            19090122P                                            Date Started            20-Nov-2019
    Anai_vsis                                                                                                             Result
    Arsenic Speciation by IC/ICP-MS
     As from Dimethylarsinic Acid - Organic                                                                          <92.9 ppb
     As from Monomethylarsonic Acid - Organic                                                                        <92.9 ppb
     As from Arsenocholine - Organic                                                                                 <92.9 ppb
     As from Arsenobetaine - Organic                                                                                 <92.9 ppb
     Sum of As from Inorganic Species                                                                                 223 ppb
     Sum of As from Organic Species                                                                                  <92_9 ppb
    Elements by ICP Mass Spectrometry
     Cadmium                                                                                                        0.0605 ppm
     Lead                                                                                                           0.352 ppm

  Method References                                                                                                        Testing Location

  Arsenic Speciation by IC/ICP-MS (AS_SPEC_S)                                                           Food Integrity Innovation -Madison
    Arsenobetaine represents unretained organic arsenic species. Sums represent the quantifiable results plus the estimated
    results of any species below LOQ.

    FDA Elemental Analysis Manual [Internet]. Silver Spring (MD): Food and Drug Administration (US); Section 4.11 [
    Version 1.1; 2012 November]. Arsenic Speciation in Rice and Rice Products Using High Performance Liquid
    Chromatography-Inductively Coupled Plasma-Mass Spectrometric Determination.

    Kutscher, D., McSheehy, S., Wills, J., Jensen, D., "IC-ICP-MS Speciation Analysis of As in Apple Juice using the
    Thermo Scientific iCAP Q ICP-MS,". Thermo Scientific Application Note 43099, (2012).
  Elements by ICP Mass Spectrometry (ICP_MS_S)                                                          Food integrity Innovation -Madison
    Official Methods of Analysis, Method 2011.19 and 993.14. AOAC INTERNATIONAL, (Modified).
    Pequette, L}., Szabo, A., Thompson, J.J., "Simultaneous Determination of Chromium, Selenium, and Molybdenum in
    Nutritional Products by Inductively Coupled Plasma/Mass Spectrometry: Single-Laboratory Validation, Journal of AOAC
    International, 94(4): 1240- 1252 (2011).




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                                                                 Test Value                      Hypothetical Level in finished product
         Item                  Lot Code      Heavy Metal                          % in formula
                                                                    (PPb)                                        (PO)
                                           Inorganic Arsenic         81.9             97.8                      80.0982
     Ríce :lcur               B160007680        Lead                 17.6             97.8                      17.2128
                                              Cadmium                18.6             97.8                      18.1908
                                           Inorganic Arsenic         223              2.08                      4.6384
  V tam n : r e rri i x       19090122P         Lead                 352              2.08                      7.3216
                                              Cadmium                60.5             2.08                      1.2584



                                                            Theoretical Arsenic                                 84.7366                   93.21026
                                                               Theoretical Lead                                 24.5344                   26.98784
                                                           Theoretical Cadmium                                  19.4492                   21.39412




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